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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS


 AVICEDA THERAPEUTICS, INC.,

                    Plaintiff,                       Civ. A. No. 1:23-cv-12468-IT

            vs.                                      Leave to file granted on Jan. 12, 2024

 TRIAL RUNNERS, LLC,

                    Defendant


                  DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS

        Aviceda points to five supposed harms: (1) attorneys’ fees it had to incur when Trial

Runners allegedly said it wanted communications to go through counsel; (2) damages resulting

from Trial Runners’ alleged mismanagement of the study; (3) alleged overpayments; and (4) the

notional injury that results from any breach of contract; and (5) reputational harm. None of these

supposed harms, though, forms part of its claims or of the remedies it seeks in Counts 1 and 2.

        Some of the supposed harms, reputational harm and attorney’s fees, are simply not

compensable on a claim for breach of contract or breach of the implied covenant. The Complaint

does use the word “reputation” once, in the introduction (Compl. ¶ 10). But the Complaint is

otherwise silent on the matter. There is no claim for defamation or breach of any agreement not

to disparage. As a rule, “damage to one’s professional or business reputation is not the kind of

damage that can be recovered on a claim for breach of contract, even under the implied covenant

of good faith and fair dealing.” Digit. Strategists, LLC v. Leap Payments, Inc., 2018 Mass. Super.

LEXIS 220, at *8 (BLS Jul. 16, 2018) (citing McCone v. N.E. Tel. & Tel. Co., 393 Mass. 231,

234 n.8 (1984)). There is an exception when the plaintiff alleges, for example, a loss of a specific




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customer relationship. See id. (citing Redgrave v. Boston Symphony Orchestra, Inc., 855 F.2d

888, 893 (1st Cir. 1988)). But Aviceda has made no such allegation.

        Nor can Aviceda show that when one party to a terminated contract tells the other party

that further communications should go through counsel, there is an exception to the ordinary rule

that each side bears its own legal expenses. Aside from claims for abuse of process, where the

legal fees incurred in defending the abusive suit are the damages, see Millennium Equity

Holdings, LLC v. Mahlowitz, 456 Mass. 627, 645-46 (2010), Trial Runners knows of no

authority under Massachusetts law for the view that attorneys’ fees can be recovered as part of

the compensatory damages here.

        While other supposed harms Aviceda mentions could support damages claims for breach

of contract or of the implied covenant if alleged, Aviceda has not alleged them, or has not

alleged that they are the basis of its claims. The damages sought must relate to the injuries

alleged. See California v. Texas, 141 S. Ct. 2104, 2115 (2021) (“To determine whether an injury

is redressable, a court will consider the relationship between ‘the judicial relief requested’ and

the ‘injury suffered’”). Although Aviceda did allege mismanagement of Part 2 of the study

(Compl. ¶¶ 52-54), it did not terminate the contract on that basis or sue on that basis. It

terminated the contract without cause (Compl. ¶ 56 & Ex. 1 § 7.2), and all of its claims are

directed at what Trial Runners did after Aviceda sent the notice of termination. And though

Aviceda says it alleges overpayment, that is not quite right. Aviceda does allege that Trial

Runners demanded a large payment that it failed to support to Aviceda’s satisfaction as the price

of its cooperation in the transition to a new CRO (Compl. ¶ 95), and that Aviceda had “yet to

receive a full accounting” of payments made for Part 2 of the study. (Compl. ¶ 30). But the

Complaint never alleges that Aviceda overpaid.



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        Finally, Aviceda argues that any breach of contract gives rise to an injury that supports

standing. But Aviceda has to justify standing as to each claim it brings and each remedy it seeks.

See Friends of the Earth, Inc. v. Laidlaw Envt’l Servs., 528 U.S. 167, 185 (2000). If Aviceda’s

point is that it has a claim that it wants to pursue for nominal damages on account of a breach of

contract or breach of the implied covenant, that is one thing. But the purely theoretical injury that

an abstract breach of contract causes does not support a claim for compensatory damages.

                                                      Respectfully submitted,

                                                      TRIAL RUNNERS, LLC

                                                      By its attorney:

                                                      /s/ Theodore J. Folkman

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Dated: January 15, 2024




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